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EXHIBIT “O”
Case 4:07-cv-02433-CBA-RER Document 94-18 Filed 04/28/11 Page 2 of 3 PagelD #: 1090

SUPREME COURT OF THE STATE OF NEW YORK

 

COUNTY OF QUEENS
x
ANAND DASRATH, Index No. 15989/06
ORDER WITH
Plaintiff, — NOTICE OF ENTRY
- against -
ROSS UNIVERSITY SCHOOL OF MEDICINE,
Defendant.
Xx

 

SIRS:
PLEASE TAKE NOTICE, that the within is a true copy of an Order duly entered in the
Office of the Clerk of the County of Queens, on February 5, 2007.

Dated: Garden City, New York
February 9, 2007

CULLEN AND DYKMAN LLP

Jonetifer A. McLaughlin
Attorneys for Defendant

100 Quentin Roosevelt Boulevard
Garden City, New York 11530
(516) 357-3700

To:

Stephen Kutner, Esq.

Kutner & Gurlides, Esqs.
Attorneys for Plaintiff

300 Old Country Road, Suite 311°
Mineola, New York 11501

 

 

 
 

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Short Form Order

NEW YORK SUPREME COURT - QUEENS COUNTY “Sati

PRESENT: ROGER N. ROSENGARTEN,
JUSTICE. PART IAS 23

X

 

ANAND DASRATH,
Index No. 15989/06

Plaintiff, Motion Date: 11/22/06
~against- Calendar No. 8
ROSS UNIVERSITY SCHOOL OF MEDICINE,

Defendant.

x
The following papers numbered | to 7 read on this motion to dismiss.

 

Detendant’s Notice of Motion to Dismiss - Affidavit of Nancy A. Perri -

Exhibits - Defendant’s Memorandum of Law... ceeeescseesesereteeeevereeeseeteeneneees 1-4
Affidavit in OppOSitiOn....... ec ececeescsscecessesteeeersseeceescneesesscsecaesasadseeeseseeseeaseerseetes 5
Reply Affidavit of Enrique Fernandez in Support of Defendant’s Motion to

Dismiss - Exhibits..........cccccsssscscsessssssecseseectevsccesetersevsesensssssesevasenseresreseesetenees 6-7

Defendant’s motion to dismiss the action is granted due to plaintiff's failed to properly
serve and file the summons and complaint in this action. The court thus does not have
jurisdiction over defendant. Plaintiff avers that he is sure his former attorney has properly served
defendant but plaintiff has failed to acquire any. affidavit of service and asks the court to find it in
its stead. Plaintiff has failed to take any other step to correct this procedural, yet, very
significant defect. Accordingly, it is hereby

ORDERED, that the motion is granted and the complaint of said plaintiff, ANAND
DASRATH, is dismissed as against said defendant ROSS UNIVERSITY SCHOOL OF
MEDICINE; and it is further

ORDERED, that the Clerk of the Court is authorized to enter judgment in accordance
with the above.

ENTER,

 
 

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Dated /

 

 

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